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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA          )
                                  )
                                  )
v.                                )    Case No. 24-cr-00304-CJN
                                  )
LEE GIOBBIE,                      )
                                  )
                                  )
                Defendant         )
                                  )




 DEFENDANT LEE GIOBBIE’S MOTION TO CONTINUE STATUS HEARING



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      NOW COMES Defendant Lee Giobbie by and through his undersigned

counsel of record, William L. Shipley, and respectfully files this Motion to

Continue the Status Hearing.

      On January 8, 2025, this Court set a status hearing in this case for

January 13, 2025.

      Undersigned began trial in United States v. Slaughter, 22-cr-00354 (RCL)

which was expected to have concluded on January 10, 2025; however, due to

Court closures because of the winter storm, undersigned is still in trial.

      Undersign will confer with Government Counsel and this Court for a new

date and time that works for all parties

      Wherefore, this Court should Grant Defendant Giobbie’s Motion to

Continue.


Dated: January 13, 2025                     Respectfully Submitted,

                                            /s/ William L. Shipley
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